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                                      31



 1
                      UNITED STATES DISTRICT COURT
 2                  SOUTHERN DISTRICT OF CALIFORNIA
 3
                                        Case No. 15-MD-2670 JLS (MDD)
 4   IN RE: PACKAGED SEAFOOD
 5   PRODUCTS ANTITRUST                 DECLARATION OF JEANNE C.
     LITIGATION                         FINEGAN, APR IN CONNECTION
 6                                      WITH RENEWED MOTION FOR
 7                                      APPROVAL OF LITIGATION
     This Document Relates To:          CLASS NOTICE PLAN
 8
 9   All Commercial Food Preparer
     Plaintiff Actions
10
11
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     DECL. OF JEANNE C. FINEGAN               CASE NO. 15-MD-2670-JLS (MDD)
Case 3:15-md-02670-DMS-MDD Document 2982-3 Filed 02/03/23 PageID.255007 Page 2 of
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 1       I, JEANNE C. FINEGAN declare as follows:
 2                                               INTRODUCTION
 3           1.        I am the Managing Director and Head of Kroll Notice Media Solutions (“Kroll
 4
     Media”), 1 a business unit of Kroll Settlement Administration LLC (“Kroll”), the administrator in
 5
     the above-captioned case. This declaration (the “Declaration”) is based upon my personal
 6
     knowledge as well as information provided to me by my associates and staff, including information
 7
 8 reasonably relied upon in the fields of advertising media and communications.
 9           2.       Kroll has been designated by the Parties as the administrator, to among other tasks,
10
     develop and implement the Class Notice Plan in connection with the above captioned case as well
11
     as administer the claim process for the COSI Settlements.
12
13           3.       This Class Notice Plan, detailed below, includes the same elements as previously

14 approved in the Settlement Notice Plan and will be accomplished through direct mail, trade
15 magazines, e-newsletters, online media and a press release. The Class Notice Plan will detail
16
     class member rights as they relate to the Litigation Class being certified as well as notify the COSI
17
     Settlement Class that the claim process is commencing.
18
                                      CERTIFIED LITIGATION CLASS
19
20           4.       We understand that the class members in this action include:

21           All persons and entities in 27 named states including Arizona, Arkansas, California,

22           Florida, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi,

23           Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North

24           Dakota, Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont,

25           West Virginia, Wisconsin and D.C., that indirectly purchased packaged tuna products

26   1
      Capitalized terms used but not defined herein have the meanings given to them in the Commercial Food Preparer
     Plaintiffs’ Memorandum of Points and Authorities in Support of Their Renewed Motion for Approval of Class Notice
27   Plan and Motion to Shift Notice Costs Onto Defendant Starkist, filed contemporaneously herewith.
28
     DECL. OF JEANNE C. FINEGAN                                      CASE NO. 15-MD-2670-JLS (MDD)
                                                            1
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 1          produced in packages of 40 ounces or more that were manufactured by any Defendant ( or
 2          any current or former subsidiary or any Aﬃliate thereof) and that were purchased directly
 3          from DOT Foods, Sysco, US Foods, Sam's Club, Wal-Mart, or Costco (other than inter-
 4          company purchases among these distributors) from June 2011 through December 2016.
 5                                          CLASS NOTICE PLAN
 6          5.     �e Class Notice Plan includes the following components:
 7                 •   Direct notice to all known class members via U.S. First Class Mail;
 8                 •   Print publication once time in two trade publications targeted to reach class
 9                     members;
10                 •   E-Newsletter display banner ad notice targeted to reach class members;
11                 •   Online display banner advertising targeted to class members;
12                 •   Keyword Search targeted to reach class members ;
13                 •   Social media advertising on Facebook, Instagram and Twitter targeted to reach
14                     class members ;
15                 •   A press release across PR Newswire's US1 Newslines with additional targeting
16                     to industry inﬂuencers;
17                 •   A dedicated informational website will be established where notices and other
18                     important Court documents will be posted, along with answers to frequently
19                     asked questions, and updates on the status of the case; and
20                 •   A toll-free information line will be established where class members can call
21                     24/7 for more information about the litigation.
22                                         DIRECT NOTICE
23          6.     As previously described in my prior declarations, Kroll has received data and
24 contact information from the six intermediaries DOT Foods, Sysco, US Foods, Sam’s Club,
25 Walmart, or Costco. However, speciﬁc transaction purchase data was not available from all
26 intermediaries and some intermediaries did not provide address information. �erefore, as part of
27 the Class Notice Plan, Kroll will send two diﬀerent postcards to known class members to detail
28
     DECL. OF JEANNE C. FINEGAN                              CASE NO. 15-MD-2670-JLS (MDD)
                                                    2
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 1 the Litigation Class certiﬁcation and the beginning of the claim process. Samples of the postcard
 2 notices are attached hereto as Exhibits A-1 and A-2.
 3           7.      �e ﬁrst postcard will be mailed to persons or entities identiﬁed in the
 4 intermediary’s records that include transaction information of purchases of Packaged Tuna
 5 Products (i.e., those products 40 ounces or larger). �e notice will provide details about the
 6 certiﬁcation of the Litigation Class and that the claim form process is beginning. �is group does
 7 not need to do anything to receive payment unless they want to dispute the intermediary records
 8 Kroll has been given and then they can dispute the transaction total and provide proof of purchase
 9 for their claimed amount. �is group can also opt out of the Litigation Class by sending a written
10 opt out to the administrator.
11           8.      �e second group will receive direct notice regarding the certiﬁcation of the
12 Litigation Class but will need to act to participate as the transaction data is not available for their
13 purchases. �ese class members will need to ﬁle a claim in order to participate in the COSI
14 Settlements or can opt out of the Litigation Class.
15           9.      Kroll will update all address information by running addresses through the National
16 Change of Address database maintained by the U.S. Postal Service. �is database is a compilation
17 of all address changes of which the U.S. Postal Service is notiﬁed and is kept for four years. It
18 will allow Kroll to update addresses to the most current address known by the U.S. Postal service
19 before sending notice.
20           10.     Additionally, if mail is returned as undeliverable with no further forwarding
21 address, Kroll will run these records through an advanced address locator database to obtain
22 additional contact information and remail notice. Likewise, if mail is returned with a forwarding
23 address, Kroll will remail the notice to the newly provided address.
24                                         INTERNET NOTICE
25           11.     Online Notice Banner Advertising. To focus on the target audience, we are
26 applying a programmatic approach to digital advertising. Programmatic is a computerized
27 approach to buying ads online, which uses an algorithm to show a speciﬁc ad to a speciﬁc visitor
28
     DECL. OF JEANNE C. FINEGAN                                CASE NO. 15-MD-2670-JLS (MDD)
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 1 in a speciﬁc context, where class members are visiting. �ese ads are device agnostic and will
 2 appear across desktop, laptop, or mobile device.
 3           12.     Kroll will use custom website list of over 100 contextually relevant restaurant and
 4 food service industry websites. Among others, the whitelist of websites will include Restaurant
 5 Business, Total Food Service, Food Management, Foodservice Director, Nation’s Restaurant
 6 News, Deli Market News, School Nutrition, and the Association for Healthcare Foodservice.
 7           13.     �e targeted impressions are strategically designed to notify and drive class
 8 members to the dedicated website, where class members can ﬁnd detailed information about the
 9 litigation and their rights and obligations.
10           14.     �e online ads will provide information for visitors to self-identify as class
11 members, where they may “click” on the banner and then link directly to the litigation website
12 for more information regarding the litigation and important deadlines and documents, including
13 downloadable copies of the full notice and claim form, and where they may submit a claim form.
14          15.      Search. Kroll will employ keyword search on Google Ads. When identiﬁed target
15 phrases and keywords are used in a user’s search on Google’s search engine, links will appear on
16 the search result pages. Representative key terms will include, but are not limited to seafood
17 litigation, tuna class action, foodservice jobs, restaurant owner, foodservice director, among others.
18           16.     Facebook, Instagram and Twitter. �e notice program will also include the social
19 media platforms Facebook, Instagram and Twitter. Kroll will apply the outreach on social media
20 in layers. �e ﬁrst layer will target people who have liked, followed or interacted with foodservice
21 groups or pages including School Nutrition Association, Food Management, Total Food Service,
22 Association of Nutrition and Foodservice Professionals, National Restaurant Association, and the
23 Society for Hospitality and Foodservice Management.
24           17.     �e second layer will target people on Facebook and Instagram who are the ‘page
25 owner’ of restaurant pages or who list their job title as Restaurant Owner, Restaurant Manager,
26 Foodservice Manager, Foodservice Director, or similar.
27                   •   People who are 'page owners' of restaurant pages: 2,290,000 people
28
     DECL. OF JEANNE C. FINEGAN                                CASE NO. 15-MD-2670-JLS (MDD)
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 1                  •   People with job title 'Restaurant Owner': 139,000 people
                    •   People with job title 'Food and Restaurant’: 4,136,33 people
 2
                    •   People with job title 'Restaurant Manager’: 64,193 people
 3
            18.     On Twitter, advertising will be targeted to people who follow handles such as
 4 @WeRRestaurants, @foodedge, @fsdeditor, @foodmanagement and similar.
 5
                                       PRINT TRADE PUBLICATIONS
 6
            19.     Notice will be published in two trade publications targeted to further reach this
 7
     speciﬁc group of class members.
 8
            20.     FSR publishes 12 times per year and has a circulation of 27,000. �e summary
 9
     notice will be published once as a half-page, black and white ad.
10
            21.     Nation’s Restaurant News publishes 12 times per year and has a circulation of
11
     60,000. �e summary notice will be published once as a half-page, black and white ad.
12
                                        TRADE E-NEWSLETTERS
13
            22.     Notice will be published in ﬁve trade e-newsletters targeted to further reach this
14
     speciﬁc group of class members. These include Food Service Director Update, Food Management
15
     Today, Restaurant Business’s RB Daily, FSR Insiders and Nation’s Restaurant News.
16
            23.     �ese e-newsletters were chosen as they are commonly read by class members.
17
            24.     Foodservice Director Update (“FSD Update”) serves the foodservice market and
18
     reports on issues impacting foodservice professionals. FSD Update has a circulation of 33,000 and
19
     is circulated 3 times per week.
20
            25.     Food Management Today (“FM Today”) provides ideas for foodservice directors
21
     and managers through coverage of industry issues. FM Today has a circulation of 32,000. �is e-
22
     newsletter is circulated 5 times per week.
23
            26.     Further, Kroll will publish in Restaurant Business’s RB Daily, which is edited for
24
     executives of commercial foodservice who have responsibility for operating decisions. RB Daily
25
     has a circulation of 100,000 and is circulated 5 times per week.
26
            27.     Additionally, notice will be published in FSR (“FS Insider”) provides ideas and
27
28
     DECL. OF JEANNE C. FINEGAN                               CASE NO. 15-MD-2670-JLS (MDD)
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 1 insights for chefs, owners, executives, and decision-makers in the full-service restaurant industry.
 2 It has a circulation of 40,000. FS Insiders is circulated ﬁve times per week.
 3          28.     Nation’s Restaurant News (“NRM”) covers the news of the foodservice industry
 4 and features in-depth analysis of what it means for restaurant operators and executives. NRM has
 5 a circulation of 95,000 and is circulated ﬁve times per week.
 6                                          PRESS RELEASE
 7          29.     A press release will be distributed over PR Newswire’s US1 Newslines with
 8 additional outreach to inﬂuencers and bloggers who cover the food industry. PR Newswire
 9 distributes to thousands of print and broadcast newsrooms nationwide, as well as websites,
10 databases and online services. Attached as Exhibit B is the press release.
11                                      MEDIA MONITORING
12          30.     Kroll intends to monitor various media channels for subsequent news articles and
13 various social mentions as a result of the press release eﬀorts. A complete report on the results
14 will be ﬁled with the Court upon completion of the notice program.
15                           OFFICIAL LITIGATION CLASS WEBSITE
16          31.     A dedicated website, www.PackagedSeafoodAntitrustCFPClass.com, has been
17 established and maintained by Kroll. �e website will serve as a “landing page for the banner
18 advertising,” where class members may get information about the class and obtain other
19 information including information about the class action, how to exclude themselves from the
20 class, other class members rights, key notices and documents, and related information. �e website
21 will be available 24 hours a day and 7 days a week. It will be optimized for visitors using mobile
22 devices and is also designed to maximize search engine optimization. It will be updated with
23 current information and status of the action as appropriate with direction from Counsel or the
24 Court.
25          32.     Attached as Exhibit C is the Long Form Notice.
26                                TOLL FREE INFORMATION LINE
27          33.     Additionally, Kroll maintains a 24-hour toll-free Interactive Voice Response
28
     DECL. OF JEANNE C. FINEGAN                              CASE NO. 15-MD-2670-JLS (MDD)
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                                      31



 1 (“IVR”) telephone line, where callers may obtain information about the class action. Kroll will
 2 also have available live operator support to answer questions during normal business hours. �ese
 3 operators will be trained to answer questions on the litigation and help people with any questions
 4 on ﬁling a claim.
 5                                DEDICATED POST OFFICE BOX
 6          34.     Kroll has secured and monitors a dedicated post oﬃce box for all mail and written
 7 communications from class members. Mail will be scanned and uploaded into Kroll’s dedicated
 8 database for this class action so that it can be tracked. All written correspondence will be
 9 monitored and responded to promptly.
10                                          CONCLUSION
11          35.     In my opinion, the outreach eﬀorts described above reﬂect a particularly
12 appropriate, highly targeted, and contemporary way to employ notice to this class. Notice in this
13 case is consistent with notice provided for the previously approved Settlement Notice Plan, which
14 was calculated to reach over 85% of class members. In my opinion, the eﬀorts to be used in this
15 proposed notice program are consistent with best practicable court-approved notice programs in
16 similar matters and the Federal Judicial Center’s guidelines concerning appropriate reach.
17          36.     I declare under the penalty of perjury, under the laws of the United States of
18 America, that the foregoing is true and correct. Executed on January 17, 2023 in Tigard, Oregon.
19
20                                                              Respectfully submitted,
21
22                                                              _____________________
23                                                              Jeanne C. Finegan
24
25
26
27
28
     DECL. OF JEANNE C. FINEGAN                             CASE NO. 15-MD-2670-JLS (MDD)
                                                    7
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                                      31




                        Exhibit A-1
:15-md-02670-DMS-MDD                 Document                             FIRST-CLASS MAIL
     Packaged Seafood Products Antitrust Litigation 2982-3 Filed 02/03/23 PageID.255015 P
                                                                          U.S. POSTAGE PAID
     c/o Kroll Settlement Administrator             of 31                       CITY, ST
     P.O. Box 5324                                                      PERMIT NO. XXXX
     New York, NY 10150-5324



     Deadline to Submit Claim: Month Day, 2023


          Personalized Claim Form Enclosed
                                                          <<Barcode>> Class Member ID:
                                                                  <<Refnum>>
   Did You Purchase Packaged Tuna Products in
    containers 40 oz or more from Costco, DOT
      Foods, Sysco, US Foods, Sam’s Club, or       <<FirstName>> <<LastName>>
          Wal-Mart between June 2011               <<Address>>
           through December 2016?                  <<Address2>>
                                                   <<City>>, <<ST>> <<Zip>>-<<zip4>>

           You may be Eligible for Payment
     www.PackagedSeafoodAntitrustCFPClass.com


                                        [BARCODE AREA]
   We have records showing that you or your company purchased Foodservice-Size Packaged Tuna Products
:15-md-02670-DMS-MDD                 Document
    (40-ounces or larger) from DOT Foods,   Sysco, US 2982-3      Filed
                                                        Foods, Sam’s     02/03/23
                                                                     Club,  Wal-Mart, orPageID.255016
                                                                                         Costco and may be P
                              affected by a litigationof  31action and settlement.
                                                       class

    What is this about? The lawsuit, known as In re: Packaged              below and your claims will be resolved through this action and
  Seafood Products Antitrust Litigation, No. 15-MD-2670 (S.D.              Settlement. However, you will lose your right to sue Bumble Bee
  Cal.), alleges that Defendants Tri-Union Seafoods, LLC d/b/a             Foods, LLC, StarKist Co., and certain related parent entities of
  Chicken of the Sea International and Thai Union Group PCL                Bumble Bee and StarKist for these claims in a separate action.
  (collectively, “COSI” Defendants”) along with defendants                   File a Claim: To receive payment from this Settlement, you
  Bumble Bee Foods, LLC, StarKist Co., and certain related                 do not need to do anything if you agree with the below purchase
  parent entities of Bumble Bee and StarKist (collectively                 values. These purchases values are from DOT and US Foods and
  “Defendants”) conspired to fix, raise, and maintain the prices of        will be used to determine your pro rata percentage of the Net
  Packaged Tuna Products and that this resulted in purchasers              Settlement Fund. If you do not agree with your purchase values,
  paying more than they otherwise would have. While denying                you must file a claim online or by mail postmarked by MONTH
  liability, the COSI Defendants have collectively agreed to a             DAY 2023 and include support to validate your claim.
  Settlement with the CFP Class and the Court has given final approval       Exclude from the Litigation Class: Receive no benefits
  to the Settlement. Additionally, the Court has certified a litigation    from future recoveries in this litigation by excluding yourself
  class in the lawsuit (“Litigation Class”). You have been identified as   from the Litigation Class, but you keep your right to sue any
  a Commercial Food Preparer (“CFP”) COSI Settlement Class                 non-settling defendants about these same claims. All exclusions
  Member and Litigation Class Member.                                      must be postmarked by MONTH DAY 2023.
    Who is a Class Member? You have been identified as both                   Further information about Filing a Claim, Excluding,
  a Settlement Class Member and as a Litigation Class Member               and Objecting are on the website.
  as a purchaser of Foodservice-Size Packaged Tuna Products
  from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart,                      Call 1-833-927-0821 or write: Packaged Seafood Products
  or Costco from June 2011 through December 2016.                          Antitrust Litigation – CFP Class, c/o Settlement Administrator,
    What are my rights? Do Nothing: You will receive a pro rata            P.O. Box 5324, New York, NY, 10150-5324 for more
  share of the Net Settlement Funds based on purchases noted               information.


  This is only a summary.              Visit: www.PackagedSeafoodAntitrustCFPClass.com                  or Call:1-833-927-0821
:15-md-02670-DMS-MDD Document 2982-3 Filed 02/03/23 PageID.255017 P
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                            Packaged Seafood Products Antitrust Litigation
                            c/o Kroll Settlement Administrator
                            P.O. Box 5324
                            New York, NY 10150-5324
                                                               CLAIM FORM P
    <<Barcode>>
:15-md-02670-DMS-MDD            Document 2982-3 Filed 02/03/23 PageID.255018
    Class Member Id: <<RefNum>>          of 31

  Entity / Name:
  Phone Number: (         )         -             Email Address                                 @                  .
             Check Box if you have a new address and provide:


   Instructions: To receive payment, you do not need to do anything if you agree with the purchase values below that were
   obtained from DOT and US Foods. If you do not, then you must fill out the dispute option below, provide proof of
   purchase for the amount you claim, sign and return this card with your documentation.

   Purchase amounts from DOT and US Foods: $_______________________
         I dispute the purchase values above: I do not agree with the above amount being used for my pro rata determination and
        am submitting documentation which includes proof of purchases to support my claim of purchases totaling:
                                       $___________________________________________
        By checking the box above, I am disputing the above purchase value and providing documentation. Should I fail
        to support my asserted claim value, my purchase value will revert to the amount listed above.


    Signature:                                                                         Date:        /      /

    Printed Name:                                                                      Title:
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                       Exhibit A-2
:15-md-02670-DMS-MDD                  Document                            FIRST-CLASS MAIL
     Packaged Seafood Products Antitrust Litigation 2982-3 Filed 02/03/23 PageID.255020 P
                                                                          U.S. POSTAGE PAID
     c/o Kroll Settlement Administration            of 31                       CITY, ST
     P.O. Box 5324                                                      PERMIT NO. XXXX
     New York, NY 10150-5324




   Did You Purchase Packaged Tuna Products in
    containers 40 oz or more from Costco, DOT      <<Barcode>> Class Member ID: <<Refnum>>
      Foods, Sysco, US Foods, Sam’s Club, or
          Wal-Mart between June 2011
           through December 2016?                  <<FirstName>> <<LastName>>
                                                   <<Address>>
                                                   <<Address2>>
      You may be a Settlement Class Member and
                                                   <<City>>, <<ST>> <<Zip>>-<<zip4>>
                eligible for payment
     www.PackagedSeafoodAntitrustCFPClass.com




                                        [BARCODE AREA]
  We have records showing that you or your company purchased Foodservice-Size Packaged Tuna Products (40-oz or larger)
:15-md-02670-DMS-MDD    from DOT Foods, Document         2982-3
                                           Sysco, US Foods, Sam’s Club, Filed     02/03/23
                                                                           Wal-Mart,             PageID.255021 P
                                                                                      or Costco and
                                                         ofa litigation
                                        may be affected by   31         class action.
     What is this about? The lawsuit, known as In re: Packaged                  Exclude yourself from the Litigation Class: Receive no
  Seafood Products Antitrust Litigation, No. 15-MD-2670 (S.D. Cal.),       benefits from any future litigation or settlements in this action by
  alleges that Defendants Tri-Union Seafoods, LLC d/b/a Chicken of         excluding yourself from the Litigation Class. You will keep your
  the Sea International and Thai Union Group PCL (collectively,            right to sue Bumble Bee Foods, LLC, StarKist Co., and certain related
  “COSI Defendants”) along with defendants Bumble Bee Foods, LLC,          parent entities of Bumble Bee and StarKist for these claims in a
  StarKist Co., and certain related parent entities of Bumble Bee and      separate action; however, you will not be part of any further
  StarKist (collectively “Defendants”) conspired to fix, raise, and        Settlements or recoveries in this matter.
  maintain the prices of Packaged Tuna Products and that this resulted         If you want to be excluded from all future recovery (including
  in purchasers paying more than they otherwise would have. While          potential future settlements) in this matter, you must exclude yourself
  denying liability, the COSI Defendants have collectively agreed to a     from the Litigation Class. All exclusions must be postmarked by
  Settlement with the CFP Class and the Court has given final approval     MONTH DAY 2023.
  to the Settlement. Additionally, the Court has certified a litigation           File a claim: To receive payment from the COSI Settlement,
  class in the lawsuit (“Litigation Class”). You have been identified as   you must file a claim and include proof of the purchases you claim.
  a Commercial Food Preparer (“CFP”) COSI Settlement Class                 You can file a claim online or by mail postmarked by MONTH DAY
  Member and Litigation Class Member.                                      2023.
     Who is a Class Member? You may have been identified as both           Further information and instructions about excluding yourself
  a Settlement Class Member and as a Litigation Class Member as a          from the litigation class can be found on the website,
  purchaser of Foodservice-Size Packaged Tuna Products from DOT            www.PackagedSeafoodAntitrustCFPClass.com.
  Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco from June
  2011 through December 2016.                                                 Call 1-833-927-0821 or write: Packaged Seafood Products
        What are my rights? Do Nothing: You will lose your right to        Antitrust Litigation – CFP Class, c/o Kroll Settlement
  sue Bumble Bee Foods, LLC, StarKist Co., and certain related parent      Administration, P.O. Box 5324, New York, NY 10150-5324 for more
  entities of Bumble Bee and StarKist for these claims in a separate       information.
  action.

   This is only a summary.                    Visit: www.PackagedSeafoodAntitrustCFPClass.com                             Call:1-833-927-0821
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                            Packaged Seafood Products Antitrust Litigation
                            c/o Kroll Settlement
                            Administration
                            P.O. Box 5324
                            New York, NY 10150-5324
                                                               CLAIM FORM P
    <<Barcode>>
:15-md-02670-DMS-MDD            Document 2982-3 Filed 02/03/23 PageID.255023
    Class Member Id: <<RefNum>>          of 31


  Entity / Name:
  Phone Number: (          )          -            Email Address                                  @                   .
              Check Box if you have a new address and provide:


   Instructions: To receive payment, you must file a claim. If you file a validated claim and it is approved, you will receive a
   pro rata share of the net settlement fund based on your validated purchases of Foodservice-Size Packaged Tuna Products
   (40-ounces or larger) from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco.

   Claimed purchase amounts: $__________________________

 I am submitting, along with this card, business records to validate the claim amount above. Such records may include purchase
 orders, receipts, business records, or the like.


    Signature:                                                                           Date:        /      /

    Printed Name:                                                                        Title:
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                          Exhibit B
Case 3:15-md-02670-DMS-MDD Document 2982-3 Filed 02/03/23 PageID.255025 Page 20
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                                             PRESS RELEASE


     If you or your company purchased Foodservice-Size Packaged Tuna products
      (40-oz or larger) from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or
     Costco between June 1, 2011 and December 31, 2016, you may be affected by a
                                     Class Action

   CITY, ST, Month 00, 2023 /PR Newswire/ -- The following statement is being issued by Cuneo Gilbert &
   LaDuca, LLP regarding a class action litigation and settlement in the Packaged Seafood Products Antitrust
   Litigation.

   What is this about?
   The lawsuit, known as In re: Packaged Seafood Products Antitrust Litigation, No. 15-2670 (S.D. Cal.),
   alleges that Defendants Tri-Union Seafoods, LLC d/b/a Chicken of the Sea International and Thai Union
   Group PCL (collectively, “COSI” Defendants”) along with Defendants Bumble Bee Foods, LLC, StarKist
   Co., and certain related parent entities of Bumble Bee and StarKist (collectively “Defendants”) conspired to
   fix, raise, and maintain the prices of Packaged Tuna Products and that this resulted in purchasers paying
   more than they otherwise would have. While denying liability, the COSI Defendants have collectively agreed
   to a Settlement with the CFP Class and the Court has given Final Approval to the Settlement. Additionally,
   the Court has certified a Litigation Class in the lawsuit.

   On July 30, 2019, the District Court certified a class of all persons and entities who reside in the states of
   Arizona, Arkansas, California, Florida, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,
   Mississippi, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota,
   Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and
   Wisconsin (referred to as the “Commercial Food Preparer Plaintiffs” or “CFPs”) who indirectly purchased
   packaged tuna products produced in packages of 40 ounces or more that were manufactured by any
   Defendant (or any current or former subsidiary or any affiliate thereof) and that were purchased directly
   from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco (other than inter-company purchases
   among these distributors) from June 2011 through December 2016 (the “Class Period”).

   Who is a Class Member?
   You are a Class Member if you are a purchaser of Foodservice-Size Packaged Tuna Products
   manufactured by any Defendant (or any current or former subsidiary or any affiliate thereof) from DOT
   Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco from June 1, 2011 through December 31,
   2016 and resided in one of the states listed above.

   What happens next?
   The Court has not decided whether Defendants’ alleged wrongdoing had any impact on the CFPs.
   Defendants deny the CFPs’ allegations and have asserted defenses to the CFPs’ claims. COSI settled with
   the CFPs to avoid litigation risks, costs, and inconvenience. Notice about the COSI Settlement was already
   issued. This notice update has a dual purpose: to inform CFP Class members about the certification of the
   litigation class and of their opportunity to opt out of that class, if they choose to do so, and also to inform
   CFP Settlement Class members that the claims process for the COSI Settlement is beginning now. Bumble
   Bee filed for bankruptcy protection. The litigation is continuing with StarKist, DWI, Lion Capital, Lion
   America, and Big Catch (the “Non-Settling Defendants”). The Court has indicated that it intends to set dates
   for the trial in the near future. Payments for the COSI Settlement will be distributed after the trial with Non-
   Settling Defendants.

   What are my rights?
   Do Nothing: You will lose your right to sue Bumble Bee Foods, LLC, StarKist Company, and certain
    related parent entities of Bumble Bee and StarKist for these claims in a separate action. You also will
    not receive payment from the COSI Settlement, if you do not file a claim and are not in the data received
    from DOT or US Foods.
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                                             PRESS RELEASE

    Exclude Yourself from the Litigation Class: Receive no benefits from any future litigation or
     settlements in this Action by excluding yourself from the Litigation Class. You will keep your right to sue
     Bumble Bee Foods, LLC, StarKist Co., and certain related parent entities of Bumble Bee and StarKist for
     these claims in a separate action; however, you will not be part of any further Settlements or recoveries
     in this matter. If you excluded yourself from the COSI Settlement and want to be excluded from all future
     Settlements and recoveries in this matter, you must exclude yourself from the Litigation Class. All
     exclusions must be postmarked by MONTH DAY 2023.
   File a Claim: To receive payment from the COSI Settlement, you must file a Claim and include proof of
    the purchases you claim, unless you receive a postcard that notes your purchase values from DOT or
    US Foods. If you receive a postcard that notes your purchases from DOT or US Foods, you do not need
    to file a claim if you agree with the purchase values. If you do not agree with the purchase values, then
    you must file a claim with documentation to substantiate your claimed amount of purchases. You can file
    a claim online or by mail postmarked by MONTH DAY 2023. If you file a valid and timely claim in the
    COSI Settlement, your payment will be distributed AFTER the litigation with the Non-Settling Defendants
    is resolved. Please be patient.

   Further information about Excluding yourself from the Litigation Class and filing a Claim can be found on
   the website, www.PackagedSeafoodAntitrustCFPClass.com. Call 1-833-927-0821 or write: Packaged
   Seafood Products Antitrust Litigation – CFP Class, c/o Settlement Administrator, P.O. Box 5324, New York,
   NY 10150-5324.
   ###

   Source: Kroll Settlement Administration
   Media Contact: TBD
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                          Exhibit C
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                    UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                      CASE NO. 15-MD-2670 DMS (MDD)

                           NOTICE UPDATE
        If you bought Foodservice-Size Packaged Tuna Products
      (40 oz or greater) from DOT Foods, Sysco, US Foods, Sam’s
           Club, Wal-Mart, or Costco from June 2011 through
       December 2016, your rights may be affected by an ongoing
                          class action litigation.
                  A federal court authorized this notice. This is not a solicitation from a lawyer.
A lawsuit is pending in the United States District Court for the Southern District of California. The lawsuit is
known as In Re: Packaged Seafood Products Antitrust Litigation, No. 15-MD-2670 DMS (MDD).
      The lawsuit claims that from June 2011 to December 2016, Defendants Tri-Union Seafoods LLC d/b/a
       Chicken of the Sea International and Thai Union Group PCL (collectively “COSI”), StarKist Co.
       (“StarKist”) and its parent company, Dongwon Industries Co. Ltd (“DWI”), and Bumble Bee Foods, LLC
       (“Bumble Bee”), Lion Capital LLP (“Lion Capital”), Lion Capital (Americas), Inc. (“Lion America”), and
       Big Catch Cayman LP (“Big Catch”) participated in an unlawful conspiracy to raise, fix, maintain, or
       stabilize the price of Packaged Tuna products at an artificially high level in violation of antitrust and unfair
       competition laws.
      On July 30, 2019, the District Court certified a class of all persons and entities who reside in the states of
       Arizona, Arkansas, California, Florida, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,
       Mississippi, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota,
       Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and
       Wisconsin (referred to as the “Commercial Food Preparer Plaintiffs” or “CFPs”) who indirectly purchased
       packaged tuna products produced in packages of 40 ounces or more that were manufactured by any
       Defendant (or any current or former subsidiary or any affiliate thereof) and that were purchased directly
       from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco (other than inter-company
       purchases among these distributors) from June 2011 through December 2016 (the “Class Period”). On
       April 8, 2022, the Ninth Circuit Court of Appeals affirmed the District Court’s order certifying a class for
       litigation (the “Litigation Class”). On November 14, 2022, the United States Supreme Court denied
       StarKist’s petition to appeal the Ninth Circuit’s decision, allowing the District Court’s order certifying the
       Class to stand.
      The Court has not decided whether Defendants alleged wrongdoing had any impact on the CFPs.
       Defendants deny the CFPs’ allegations and have asserted defenses to the CFPs’ claims. 
      COSI settled with the CFPs to avoid litigation risks, costs, and inconvenience. Notice about the COSI
       Settlement was already issued. This notice update has a dual purpose: to inform CFP Class members about
       the certification of the Litigation Class pursuing claims against the Non-Settling Defendants and of their
       opportunity to opt out of that class, if they choose to do so, and also to inform COSI Settlement Class
       members that the claims process for the COSI Settlement is beginning now. 
      Bumble Bee filed for bankruptcy protection. The litigation is continuing with StarKist, DWI, Lion Capital,
       Lion America, and Big Catch (the “Non-Settling Defendants”). The Court has indicated that it intends to
       set dates for the trial in the near future. Payments for the COSI Settlement will be distributed after the trial
       with Non-Settling Defendants.
      Your legal rights are affected whether you act or don’t act. Please read this notice carefully.


                           Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                         or call toll-free at 1-833-927-0821
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     YOUR LEGAL RIGHTS AND OPTIONS IN THE PENDING CLASS ACTION LITIGATION
                             Stay in the Litigation Class and await the outcome.
                             You will receive no payment from the COSI
                              Settlement if you do not file a claim in the COSI
                              Settlement and were not sent a postcard showing your
     DO NOTHING               purchase values.
                             Give up your right to sue or continue to sue the
                              Defendants on your own for your claims in
                              this case.

                             If you want to participate in the COSI Settlement, and
                              have not received a postcard indicating your
                              qualifying purchase values found in transactional data
                              of DOT Foods and/or US Foods, you must file a            Online or
      FILE A COSI
     SETTLEMENT               claim by [DATE XX, 2023]                                 Postmarked by
        CLAIM                If you file a valid and timely claim in the COSI         Month xx, 2023
                              Settlement, your payment will be distributed AFTER
                              the litigation with the Non-Settling Defendants is
                              resolved. Please be patient.

                             Remove yourself from the Litigation Class.
                             Keep your right to sue or continue to sue the
                              Non-Settling Defendants for the claims in
       ASK TO BE              this case on your own.
    EXCLUDED FROM
    THE LITIGATION           Receive no payment from the litigation with the Non-     Postmarked by
         CLASS                Settling Defendants.                                     Month xx, 2023
      (“OPT OUT”)            If you already opted out of the COSI Settlement,
                              and do not want to participate in the Litigation
                              Class or any future settlements or recoveries, you
                              DO need to file another opt-out.

   Your rights and options—and the deadlines to exercise them—are explained in this notice. The
    deadlines may be moved, canceled, or otherwise modified, so please check the case website,
    www.PackagedSeafoodAntitrustCFPClass.com, regularly for updates and further details.




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                     Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                   or call toll-free at 1-833-927-0821
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                               Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                             or call toll-free at 1-833-927-0821
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                                            Basic Information
1. Why is there a notice?
This notice is to inform you that the District Court has allowed (or “certified”) a class action lawsuit that may
affect you. You may be part of a class action lawsuit if you purchased Packaged Tuna in sizes of 40 ounces or
greater between June 2011 and December 2016, from DOT Foods, Sysco, US Foods, Sam’s Club, Walmart, or
Costco. If you are a Class Member, you have legal rights and options you may exercise before the Court holds
a trial that will be set in the near future. At the trial, the Court will decide whether the allegations against
Defendants on your behalf (as a member of a certified class) are proven to be true. The trial will be held in the
United States District Court for the Southern District of California. The lawsuit is known as In Re: Packaged
Seafood Products Antitrust Litigation, No. 15-MD-2670 DMS (MDD).
Those who sued are called the Commercial Food Preparer Plaintiffs or CFPs. The companies they sued are called
the Defendants. The Defendants include COSI, StarKist and its parent company, DWI, and Bumble Bee and its
parent companies, Lion Capital, Lion America and Big Catch.
The CFPs have already reached a settlement (the “COSI Settlement”) with COSI (the “Settling Defendants”).
The COSI Settlement notice has already been issued. To file a claim in the COSI Settlement you need to act
by the Claim Form deadline of [DATE XX, 2023]. Bumble Bee filed for bankruptcy protection. The litigation
is continuing with StarKist, DWI, Lion Capital, Lion America, and Big Catch (the “Non-Settling Defendants”).
This notice explains the lawsuit, certification of the Litigation Class by the Court, and your legal rights and
options.

2. What is a class action and who is involved?

In a class action lawsuit, one or more people or businesses called class representatives sue on behalf of others
who have similar claims, all of whom together are a “class.” Individual class members do not have to file a
lawsuit to participate in the class action or be bound by the judgment in the class action. One court resolves the
issues for everyone in the class, except for those who exclude themselves from the class (“opt out”).

3. Why is this lawsuit a class action?

The District Court decided that this lawsuit can be a class action and move towards a trial because it meets the
requirements of Federal Rule of Civil Procedure 23, which governs class actions in federal courts. Specifically,
the District Court found that:
     There are factual and legal questions that are common to each of the members of the Litigation Class;
     The CFPs’ claims are typical of the claims of the rest of the Litigation Class;
     The CFPs and the lawyers representing the Litigation Class will fairly and adequately represent the
       Litigation Class interests;
     The common legal questions and facts predominate over questions that affect only individuals; and
     This class action will be more efficient than having many individual lawsuits.

                                             Who Is Affected?
4. Am I part of the Litigation Class?

 The Litigation Class includes all persons and entities who resided in Arizona, Arkansas, California, Florida, Iowa,
 Kansas, Maine, Massachusetts, Michigan, Minnesota, Mississippi, Nebraska, Nevada, New Hampshire, New
                                                        4
                       Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                     or call toll-free at 1-833-927-0821
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 Mexico, New York, North Carolina, North Dakota, Oregon, Rhode Island, South Carolina, South Dakota,
 Tennessee, Utah, Vermont, West Virginia, and Wisconsin, indirectly purchased packaged tuna products produced in
 packages of 40 ounces or more that were manufactured by any Defendant (or any current or former subsidiary or any
 affiliate thereof) and that were purchased directly from DOT Foods, Sysco, US Foods, Sam’s Club, Wal-Mart, or Costco
 (other than inter-company purchases among these distributors) from June 2011 through December 2016 (the “Class
 Period”). The Litigation Class excludes the Court.

5. What if I am still not sure if I am included?

If you are still not sure whether you are included, you can visit www.PackagedSeafoodAntitrustCFPClass.com,
or call toll-free at 1-833-927-0821.
                                       The Claims in the Lawsuit

6.     What is this lawsuit about?

Commercial Food Preparer Plaintiffs allege that from June 2011 through December 2016, Defendants participated
in an unlawful conspiracy to raise, fix, maintain, or stabilize the price of Packaged Tuna products at an artificially
high level in violation of antitrust and unfair competition laws.
On July 30, 2019, the District Court certified the Class and selected Cuneo Gilbert & DeLuca, LLP to act as
Class Counsel; however, on April 6, 2021, a three-judge panel of the Ninth Circuit Court of Appeals vacated the
District Court’s order and remanded the case to the District Court for further consideration. On August 3, 2021,
following a vote of non-recused active judges, the Court of Appeals vacated the April 6, 2021 decision, ordering
that an eleven-judge panel rehear the case. On April 8, 2022, the Ninth Circuit Court of Appeals upheld the
District Court’s decision to certify the Class. On August 8, 2022, StarKist filed a petition with the United States
Supreme Court to appeal the Ninth Circuit’s decision upholding the District Court’s decision to certify the
Class. On November 14, 2022, the United States Supreme Court denied StarKist’s petition, allowing the District
Court’s order certifying the Class to stand. The Court has indicated that it intends to set dates for the trial in the
near future.
On November 10, 2021, the Court issued an order granting in part and denying in part plaintiffs’ motion for
summary judgment.
The CFPs agreed to settle with COSI. On January 26, 2022, the Court preliminarily approved the COSI
Settlement, and notice was disseminated. On August 22, 2022, the Court granted final approval of the COSI
Settlement and certified the Settlement Class. Payments for the COSI Settlement will be distributed after the
trial or settlement with Non-Settling Defendants.

7.     How do Defendants respond?
Defendants deny the CFPs’ allegations and have asserted defenses to the CFPs’ claims. As noted above, StarKist
filed a petition in the United States Supreme Court to appeal the Class Order on August 8, 2022; however, that
petition was denied. The Court has indicated that it intends to set dates for the trial in the near future.
COSI settled with the CFPs to avoid litigation risks, costs, and inconvenience. Payments for the COSI
Settlement will be distributed after the trial or settlement with the Non-Settling Defendants.

8. Has the Court decided who is right?
 The Court has not decided whether the CFPs or Defendants are correct as to the extent of Defendants’ conduct,
 or the impact of that conduct, if any, on the CFPs. By establishing the Class and issuing this Notice, the Court
                                                          5
                        Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                      or call toll-free at 1-833-927-0821
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 is not suggesting that the CFPs will win or lose this case. The CFPs must prove their claims at trial.

9. What are the CFPs asking for?
The CFPs are asking that the Non-Settling Defendants provide monetary damages to Class Members. Plaintiffs
will also seek attorneys’ fees and costs incurred in connection with the prosecution of this action.
As part of the COSI Settlement, COSI agreed to pay $6.50 million to a Settlement Fund. A portion of the
Settlement Fund will be used by the claims administrator to administer notice and claims in the COSI
Settlement. Any monies remaining, after the costs of notice and claims administration as well as court-approved
attorney fees, costs, and class representative incentive awards in the COSI Settlement are paid, will be distributed
pro rata to valid qualifying CFP Class Members who filed a claim. Settlement Class Counsel requested, and the
Court awarded, a distribution to cover litigation costs and class representative incentive awards. The approved
motion for costs and incentive awards and the Court’s Order can be viewed on the Settlement website.

 10. Is there money available now?
If you have not received a postcard indicating your qualifying purchase values found in transactional data of
DOT Foods and/or US Foods, then you must file a claim in order to receive money from the COSI Settlement.
No money or benefits are available at this time from Non-Settling Defendants because the Court has not yet
decided on the impact of the Non-Settling Defendants’ alleged wrongdoing or whether Class Members are
entitled to money or other benefits. There is no guarantee that additional money or benefits will be obtained.
If they are, you will be notified about how to seek money or other benefits from the Non-Settling Defendants’
lawsuit.
Money is available to Class Members who file a claim in the COSI Settlement. COSI Settlement Class Members
who timely submitted a valid, approved claim are entitled to be treated equally and receive Settlement
compensation on a pro rata basis such that the Settlement Fund is exhausted. The claims administrator will
not distribute any money until all remaining claims against Non-Settling Defendants are resolved. Please be
patient. If your address has changed, please inform the claims administrator to ensure any communications are
sent to your current address.
                         Excluding Yourself from the Litigation Class
11. What does it mean if I exclude myself from the Litigation Class?

If you exclude yourself from the Litigation Class—which means to remove yourself from the Litigation Class,
and is sometimes called “opting out” of the Class—you will not get any future money or benefits recovered in
this lawsuit or from Non-Settling Defendants, even if the CFPs obtain them as a result of the trial. However,
you may then be able to sue or continue to sue Non-Settling Defendants on your own regarding the claims in
this matter. If you exclude yourself, you will not be legally bound by the Court’s judgments in this class action
as it pertains to the Non-Settling Defendants.
If you start your own lawsuit against Non-Settling Defendants regarding the same claims in this matter after
you exclude yourself, you will have to hire and pay your own lawyer for that lawsuit, and you will have to prove
your claims.
The exclusion period for the COSI Settlement has passed. If you did not opt out of the COSI Settlement, you
will continue to be bound by the Court’s approval of the Settlement and its terms even if you opt out of the
Litigation Class. If you did exclude yourself from the COSI Settlement, you still must exclude yourself again
if you do not want to be included in the Litigation Class.


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                       Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                     or call toll-free at 1-833-927-0821
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12. If I don’t exclude myself from the Litigation Class, can I sue Non-Settling Defendants for the same thing
later?
 No. Unless you exclude yourself from the Litigation Class, you give up the right to sue Non-Settling Defendants
 for the legal claims in this case. All Court orders relating to legal claims against Defendants will apply to you
 and legally bind you. If you have your own pending lawsuit against any of the Defendants, speak to your lawyer
 in that lawsuit immediately to determine whether you must exclude yourself from the Litigation Class in order
 to continue your own lawsuit against Non-Settling Defendants.

13. What am I giving up by staying in the Litigation Class?

 Unless you exclude yourself from the Litigation Class, you remain a Litigation Class Member. By staying in the
 Litigation Class, all Court orders relating to legal claims against Non-Settling Defendants will apply to you and
 legally bind you.

14. How do I exclude myself from the Litigation Class?

 To exclude yourself or opt out from the Litigation Class, you must complete and mail to the claims administrator a
 written request for exclusion.
 The request to opt out of the Litigation Class must include:
     •   Your full name, current address, and telephone number;
     •   A statement saying that you want to be excluded from the CFP CLASS in the
         In Re: Packaged Seafood Products Antitrust Litigation, No. 15-MD-2670 DMS (MDD); and
     •   Your signature.
 You must mail your exclusion request, postmarked by Month x, 2023 to:
                  Packaged Seafood Antitrust - CFP Class – EXCLUSION REQUEST
                                c/o Kroll Settlement Administration
                                           P.O. BOX 5324
                                    New York, NY 10150-5324

 If you do not include the required information or timely submit your request for exclusion, you will
remain a Litigation Class Member and you will be bound by the orders of the Court.

 15. What if I already filed an opt-out or a claim in the COSI Settlement?
 If you already opted out of the COSI Settlement, you DO need to file another opt-out in order to opt out of the
 Litigation Class.

                                   The Lawyers Representing You
16. Do I have a lawyer in this case?

 Yes. The Court has appointed the law firm of Cuneo Gilbert & LaDuca, LLP as Class Counsel on behalf of the
 Commercial Food Preparer Plaintiffs and Class Members. Contact information for Class Counsel is below:

                                                        7
                        Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                      or call toll-free at 1-833-927-0821
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                                          Cuneo Gilbert & LaDuca, LLP
                                      4725 Wisconsin Avenue, NW - Suite 200
                                             Washington, DC 20016
                                               Attn: Blaine Finley
If you wish to remain a Litigation Class Member, you do not need to hire your own lawyer because Class
Counsel is working on your behalf. If you wish to pursue your own case separate from this one, or if you exclude
yourself from the Litigation Class, Class Counsel will no longer represent you. You may need to hire your own
lawyer if you wish to pursue your own lawsuit against any of the Defendants.

17. How will the lawyers be paid?
 You will not have to pay any fees or costs out-of-pocket. Class Counsel reserve the right to seek an award of
 additional litigation costs and attorney fees, subject to Court approval, from any funds recovered from the Non-
 Settling Defendants through settlement, trial, or judgment. Class Counsel further reserves the right to base, in
 part, any such request on the benefit obtained in the COSI Settlement.
                                                  The Trial
18. How and when will the Court decide who is right?

Class Counsel will have to prove the CFPs’ allegations at a trial. No trial date has been set at this time. At the
trial, a jury and the Judge will hear all of the evidence to help them reach a decision about whether the CFPs or
Non-Settling Defendants are right. There is no guarantee the CFPs will win or that they will get any money for
all or some members of the Litigation Class.

19. Do I have to come to the trial?

No. You do not need to attend the trial. Class Counsel will present the case for the CFPs, and lawyers for the
Non-Settling Defendants will present on their behalf. However, you or your own lawyer are welcome to come
at your own expense.

20. Will I get money after the trial?

If you did not exclude yourself from the Litigation Class and if the CFPs obtain money or benefits as a result of
the lawsuit, you will be notified about how to collect any money or benefits that are owed to you. In addition,
if you filed a valid and timely claim in the COSI Settlement, your payment will be distributed after the trial is
resolved. We do not know how long this will take, so please be patient.
                                            If You Do Nothing
21. What happens if I do nothing at all?

You do not have to do anything now if you want to remain in the Litigation Class. If you want to get money or
benefits from the COSI Settlement or lawsuit with the Non-Settling Defendants, you MUST file a claim by
MONTH DATE, YEAR, unless you have already received a postcard indicating your qualifying purchase
values found in transactional data of DOT Foods and/or US Foods. If you stay in the Litigation Class and the
CFPs win, you will be notified. Keep in mind that if you do nothing now, regardless of whether the CFPs win
or lose the trial, you will not be able to sue or continue to sue Defendants as part of any other lawsuit about the
same legal claims that are the subject of this lawsuit. You will also be legally bound by the Orders the Court
issues and judgments the Court makes in this class action.

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                       Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                     or call toll-free at 1-833-927-0821
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                                  Getting More Information
22. How do I get more information about the case?

This notice summarizes the case. Visit www.PackagedSeafoodAntitrustCFPClass.com for more detailed
information. You can also contact the claims administrator:


                             Packaged Seafood Antitrust - CFP Class
                               c/o Kroll Settlement Administration
                           P.O. Box 5324, New York, NY 10150-5324
                                                or
                                          1-833-927-0821




              PLEASE DO NOT CONTACT THE COURT REGARDING THIS NOTICE.




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                     Questions? Visit www.PackagedSeafoodAntitrustCFPClass.com
                                   or call toll-free at 1-833-927-0821
